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                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

THOMAS POWER,                                        Civil Division
           Plaintiff,
                                                     Docket No. 2:17-CV-00154-MRH
v.
                                                     Hon. Mark R. Hornak
HEWLETT-PACKARD COMPANY,
            Defendant.                               Friday, May 13, 22


 HP, INC.’S MOTION TO PRECLUDE PLAINTIFF’S MEDICAL EXPERT, MICHAEL
  DREW, MD, FACS, FROM OFFERING AN OPINION REGARDING PLAINTIFF’S
                        ALLEGED INCONTINENCE

       Defendant, HP, Inc. (improperly named Hewlett-Packard Company in the plaintiff’s

complaint) moves to preclude plaintiff’s medical expert, Michael Drew, from offering an opinion

regarding the plaintiff’s alleged incontinence. As discussed in the accompanying memorandum of

law, Dr. Drew’s opinion that the plaintiff’s incontinence results from a burn injury is based on

speculation and conjecture. His opinion is not based on reliable principles, methods, or sufficient

facts and data. Instead, Dr. Drew simply speculates that because plaintiff began suffering from

incontinence after the date of the burn injury, that there must be a causal connection. However, Dr.

Drew never examined the plaintiff or conducted any tests, and as Dr. Drew has acknowledged,

plaintiff’s own treating physicians found no causal connection. Nor did Dr. Drew consult any

medical texts, treatises, articles. Moreover, Dr. Drew has not identified any specific physical or

psychological condition that allegedly caused plaintiff’s condition. Thus, Dr. Drew’s proposed

testimony fails to meet the requirements of Fed. R. Evid. 702 and must be excluded in accordance

with Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). HP requests a Daubert

hearing.
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       Wherefore, for the reasons set forth above and in its accompanying memorandum of law,

HP, Inc., respectfully requests that the Court conduct a Daubert hearing and preclude Dr. Michael

Drew from offering any opinion testimony regarding plaintiff’s incontinence claim, in accordance

with the Court’s gatekeeping function to assure that expert testimony is reliable and in keeping

with the requirements of Rule 702 and Daubert.

                                              Respectfully submitted,

                                              /s/ Michael A. Weiner
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                         UNITED STATES DISTRICT COURT
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           Plaintiff,
                                                    Docket No. 2:17-CV-00154-MRH
v.
                                                    Hon. Mark R. Hornak
HEWLETT-PACKARD COMPANY,
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MEMORANDUM OF LAW IN SUPPORT OF MOTION TO PRECLUDE PLAINTIFF’S
MEDICAL EXPERT, MICHAEL DREW, MD, FACS, FROM OFFERING AN OPINION
          REGARDING PLAINTIFF’S ALLEGED INCONTINENCE

       Plaintiff, Thomas Power, contends that on June 20, 2015, he was using an HP Elitebook

8730w notebook computer (the “Elitebook”) when it exploded, causing him to sustain burn injuries

to his thighs (the “accident”). Plaintiff now contends that he suffers from incontinence as well.

None of his treating physicians, including his treating urologist, causally connect plaintiff’s

incontinence to the accident. Therefore, in an attempt to establish such a connection, plaintiff

retained an expert, Dr. Michael Drew. Essentially, Dr. Drew’s opinion is that because plaintiff’s

incontinence started after the accident, it must have been caused by the accident. This opinion is

not based on reliable methodology as required under Rule 702 and Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993) and must be precluded from trial. HP requests a

Daubert hearing.

                                 FACTUAL BACKGROUND

       I.      The Subject Accident

       On June 20, 2015, plaintiff was using his Elitebook, which he had purchased used on eBay.

The Elitebook contained aftermarket batteries that were not made by HP and were not approved
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for use in HP products. On the date in question, the batteries in the Elitebook allegedly caught fire,

causing plaintiff to sustain burn injuries to his thighs.

        II.     Plaintiff’s Retention of Dr. Michael Drew

        At some point after the accident, plaintiff began complaining of incontinence. He saw a

urologist, Dr. Paul Ogagan, who examined the plaintiff. After examining the plaintiff, Dr. Ogagan

determined that there was no evidence of a genitourinary injury and did not find any relationship

between the accident and plaintiff’s incontinence. Nevertheless, plaintiff contends in this litigation

that there is a connection, so in support of that claim he has retained Dr. Michael Drew, a general

surgeon who has never practiced urology. Transcript of Dr. Drew’s Deposition (Exhibit B) at

12:22-24 which is currently pending court approval for seal pursuant to HP’s Application for

Leave to File Under Seal.

        III.    Dr. Drew’s Opinion and Methodology

        In his report, Dr. Drew states that at some unspecified time after the June 20, 2015, accident

plaintiff began complaining of incontinence. Dr. Drew's Report (Exhibit A) at p. 2 which is

currently pending court approval for seal pursuant to HP’s Application for Leave to File Under

Seal. Dr. Drew never reviewed pre-accident records from plaintiff’s primary care physician.

Exhibit B at 27:5-9 which is currently pending court approval for seal pursuant to HP’s

Application for Leave to File Under Seal.. Other than reviewing plaintiff’s deposition testimony

from 2018, Dr. Drew took no steps to ascertain whether plaintiff experienced incontinence prior

to the accident. Id. at 27:13-18; 34:7-9. He never spoke with the plaintiff. Id. at 27:10-12. He did

not examine the plaintiff and did not perform any tests. Id. at 32:6-12. He never examined the

scarring on plaintiff’s legs and has never seen any photographs of the scars. Id. at 41:4-14. He did

not consult any medical texts, treatises, or articles relating to incontinence or urology. Id. at 32:12-


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16. Dr. Drew is not a psychologist or psychiatrist. He did not conduct any psychological tests. Id.

at 33:5-11. He acknowledges that plaintiff had psychological conditions, including post-traumatic

stress disorder, depression, and other psychological conditions that predated the accident. Id. at

33:12-20. Dr. Drew also admitted that plaintiff’s treating physicians, including his urologist, did

not find any relationship between the accident and the incontinence. See id. at 31:17-25; 38:13-23.

Nevertheless, Dr. Drew then concluded in his report, without any explanation or elaboration, “The

incontinence… is clearly related to the injuries whether physical, psychological or a combination

of the two.” Exhibit A at p. 3 which is currently pending court approval for seal pursuant to HP’s

Application for Leave to File Under Seal.

       IV.     Dr. Drew Cannot Articulate a Physical Cause of Plaintiff’s Incontinence

       Dr. Drew equivocated on the issue of whether plaintiff’s physical injury could have caused

his incontinence, but ultimately acknowledged that he could not articulate a causal connection. As

he stated at one point in his deposition, “I can’t cite you a, and I don’t think there exists, a

mechanism of injury where a nerve in the thigh caused the incontinence, that doesn’t exist, so I

think it’s probably just – it’s related to psychological, and it may be from the, you know, from the

sensory issues related to the perineum and the pelvis, but that’s where I come up with that. It’s a

purely temporal situation. This was never in existence before, and it was always part of his

complaints after.” Exhibit B at 26:19-27:4 which is currently pending court approval for seal

pursuant to HP’s Application for Leave to File Under Seal. (emphasis added). At another point,

Dr. Drew speculated that perhaps there “could be some sensory issues related to” the scarring on

plaintiff’s thighs that could have caused the incontinence. Id. at 27:19-28:8. Ultimately, however,




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Dr. Drew admitted, “I don’t think there’s a specific mechanism of injury here, physical, that would

explain purely the incontinence.” Id. at 28:10-12.

       V.      Dr. Drew Cannot Articulate a Psychological Cause of Plaintiff’s Incontinence

       Dr. Drew also equivocated on a possible psychological cause for plaintiff’s incontinence.

Dr. Drew admitted that plaintiff had a long history of PTSD, depression, and other psychological

conditions that predated the accident. Id. at 33:12-20. Yet, he disregarded these records in arriving

at his opinion that plaintiff’s incontinence was the result of some unspecified psychological

reaction to the accident. Id. at 33:21-24. At one point in his deposition, Dr. Drew opined that the

cause plaintiff’s incontinence was probably psychological, as opposed to physical, in nature,

stating, “I would probably say more – more psychological than physical.” Id. at 36:19-13

(emphasis added). To support this opinion, however, he could only point to the temporal

connection, and stated, “the fact that… [plaintiff] was, as most of us would be, sort of freaked out,

if you will, by seeing an explosion…that’s where my opinion comes from.” Id. at 36:18-23. Again,

Dr. Drew has never spoken to the plaintiff. In any case, even after seeming to settle on a

psychological cause, Dr. Drew still would not commit to that position, stating later on in his

deposition that “there are objective findings in terms of the bladder” to suggest a possible physical

cause. Id. at 50:1-11.

       VI.     Ultimately, Dr. Drew’s Opinion Is Based on the Assumption that Because
               Plaintiff’s Complaints of Incontinence Started after the Accident, the
               Accident Must Have Caused the Incontinence

       Ultimately, Dr. Drew is unable to specify the cause of plaintiff’s incontinence and relies on

equivocation and vagueness. As he stated in his report, “The incontinence that remains is clearly

related to the injuries whether physical, psychological or a combination of the two.” Exhibit A at


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p. 3 which is currently pending court approval for seal pursuant to HP’s Application for Leave to

File Under Seal.. At no point in his report or at his deposition did Dr. Drew identify any specific

physical or psychological condition that plaintiff has that could cause incontinence. And at his

deposition, he admitted that he is unable to render an opinion within a reasonable degree of

scientific or medical certainty whether plaintiff’s incontinence is psychological versus physical, or

some combination thereof. Id. at 37:16-22. As he testified near the conclusion of his deposition:

       Q:      Your opinion that you just gave with regard to causation or
               contribution to the incontinence, is it your understanding that both
               physical and psychological components to that causation exist, you
               just can't say how much of one or the other is involved?

       A:      That -- yes, I think that's a fair paraphrasing of my opinion, yes.

Id. at 49:14-25. See also id. at 34:14-15 (it “would be very difficult to distinguish” whether the

cause was psychological or physical).

       Unable to decide how exactly plaintiff’s incontinence came to be, Dr. Drew’s opinion can

be summed up in the following testimony: “Well, it’s based on the temporal relationship, I mean,

I think I read his deposition, I saw the medical records, incontinence was never present before this

event.” Id. at 26:8-11. But, as noted above, Dr. Drew conducted no research or testing, did not

examine the plaintiff, did not talk to the plaintiff, and did not consult any medical texts, treatises,

or articles. Thus, his opinion, which directly contradicts the opinions of plaintiff’s treating

physicians, including an actual urologist, is based on speculation and assumptions alone and not

any scientific methodology and must be precluded from trial.

                                           ARGUMENT

       I.      Standard for Admissibility of Expert Testimony




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        “If scientific, technical, or other specialized knowledge will assist the trier of fact to

understand the evidence or to determine a fact in issue, a witness qualified as an expert by

knowledge, skill, experience, training, or education, may testify thereto in the form of an opinion

or otherwise, if (1) the testimony is based upon sufficient facts or data, (2) the testimony is the

product of reliable principles and methods, and (3) the witness has applied the principles and

methods reliably to the facts of the case.” Fed. R. Evid. 702.

        “Rule 702 embodies a trilogy of restrictions on expert testimony: qualification, reliability

and fit”:

               Qualification refers to the requirement that the witness possess
               specialized expertise. We have interpreted this requirement
               liberally, holding that a broad range of knowledge, skills, and
               training qualify an expert.

               Secondly, the testimony must be reliable; it “must be based on the
               ‘methods and procedures of science rather than on ‘subjective belief
               or unsupported speculation’; the expert must have ‘good grounds
               for his on her belief. In sum, Daubert holds that an inquiry into the
               reliability of scientific evidence under Rule 702 requires a
               determination as to its scientific validity.

               Finally, Rule 702 requires that the expert testimony must fit the
               issues in the case. In other words, the expert’s testimony must be
               relevant for the purposes of the case and must assist the trier of fact.

Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003), citing In re Paoli Railroad Yard PCB

Litigation, 35 F.3d 717, 749 (3d Cir. 1994), Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

U.S. 579 (1993).

        “Evaluating the reliability of an expert's methodology is not a credibility determination but

a critical gatekeeping function for judges — not juries — to perform.” Wood v. Showers, 822 F.

App'x 122, 125 (3d Cir. 2020), citing Kumho Tire v. Carmichael, 526 U.S. 137, 147 (1999)

(Federal Rule of Evidence 702 imposes a special obligation upon a trial judge to "ensure that any



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and all scientific testimony . . . is not only relevant, but reliable" (quoting Daubert, 509 U.S. at

589)); see also Daubert, supra. at 592-93 (explaining that a trial judge must make "a preliminary

assessment of whether the reasoning or methodology underlying the testimony is scientifically

valid and of whether that reasoning or methodology properly can be applied to the facts in issue”).

       In offering an opinion on medical causation, a medical expert “may rely on various types

of relevant medical information such as a physical examination, medical records, tests, medical

literature, and experience. The expert need not make use of all of these techniques to render a

reliable diagnosis.” In re Zostavax (Zoster Vaccine Live) Prods. Liab. Litig., No. 2848, 2021 U.S.

Dist. LEXIS 230252, at *9 (E.D. Pa. Dec. 1, 2021) (citations omitted). “A medical expert,

however, must do more than simply pronounce an opinion [on causation of] a plaintiff’s injuries.

As the Supreme Court has declared on several occasions, the ipse dixit of the expert as the only

connection to the underlying data is insufficient to establish reliability.” Id., citing Kumho Tire Co.

v. Carmichael, 526 U.S. 137, 157, 119 S. Ct. 1167, 143 L. Ed. 2d 238 (1999). See also GE v.

Joiner, 522 U.S. 136, 146, 118 S. Ct. 512, 519 (1997) (“nothing in either Daubert or the Federal

Rules of Evidence requires a district court to admit opinion evidence that is connected to existing

data only by the ipse dixit of the expert.”).

       In the Zostavax litigation, for example, the plaintiffs alleged that they developed shingles

after being inoculated with the Zostavax vaccine. In re Zostavax, supra, at *5. The named plaintiffs

in the case developed shingles between seven days and one year of receiving the vaccine. Id. at

*25. In support of their claim, they retained Dr. Mark Poznansky to opine on the causal connection.

Id. at *5. The defendant moved to exclude his testimony in accordance with Rule 702 and Daubert.

Id. at *3. The court granted the motion on the grounds that Dr. Poznansky relied on the temporal

relationship between the date of the vaccines and the onset of shingles without conducting a




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differential diagnosis. Id. at *14. Noting that a temporal relationship was not enough to establish

causation, the Court held, “The court cannot admit expert testimony based solely on the post hoc

ergo propter hoc fallacy, that is, the fallacy that the mere happening of an event such as a

vaccination injection must be the cause of a later happening such as an illness or injury.” Id. at

*20. It concluded:

          Plaintiffs' expert Dr. Poznansky simply opines that it was the vaccine that
          caused their injuries without any reliable methodology. He fallaciously and
          indiscriminately relies on a temporal link…he has not made the required
          differential diagnosis. The jury would be left with nothing but speculation as
          to what caused plaintiffs' shingles…The law however does not countenance
          speculation. It requires sufficient evidence to enable plaintiffs to sustain their
          burden of proof. From the parts of the record to which plaintiffs refer in their
          briefs, such evidence complying with Daubert is lacking.

Id. at *25.

        II.    Dr. Drew’s Testimony Must Be Excluded Because He Relies Solely on the
               Temporal Relationship Between the Accident and the Onset of Incontinence

        Dr. Drew’s opinion must be excluded for the same reason Dr. Poznansky’s opinion was

excluded in the Zostavax litigation. Like Dr. Poznansky, Dr. Drew simply assumes that because

the onset of incontinence happened after the accident, there must be a causal connection. However,

Dr. Drew did not conduct any tests or research into possible causes. Like Dr. Poznansky’s opinion,

Dr. Drew’s position suffers from the post ergo propter hoc fallacy. Even worse, as discussed

above, Dr. Drew has not been able to articulate what exactly that causal connection is, generally

or specifically. At most, he contends, in a noncommittal manner, that it is some combination of

psychological and physical causes, but he does not identify what the specific causes are, and as

evidenced by his deposition testimony, he cannot even decide whether the physical or

psychological cause predominates.

        III.   Dr. Drew’s Testimony Must Be Excluded Because It Is Not Based on Reliable
               Methodology



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        Further, Dr. Drew’s testimony should be excluded because there is no methodology

underlying it. Although Daubert and Rule 702 permit a medical expert to “rely on various types

of relevant medical information such as a physical examination, medical records, tests, medical

literature, and experience,” In re Zostavax, supra, at *9, the only medical evidence Dr. Drew relied

on – the plaintiff’s medical records – indicated that a causal connection was not established. Dr.

Drew did not examine or interview the plaintiff, he did not conduct any research or testing, he did

not view photos of plaintiff’s injuries, and he did not consult medical treatises or articles. Yet, Dr.

Drew disregards the only medical evidence that he did review and asserts without explanation his

subjective opinion that there is a causal connection simply because there must be based on the

timing of symptoms. This is classic ipse dixit testimony that must be excluded and which will do

nothing to assist the trier of fact.

                                          CONCLUSION

        For the reasons set forth above, the defendant, HP, Inc., requests that the Court conduct a

Daubert hearing and preclude Dr. Michael Drew from offering any opinion testimony regarding

plaintiff’s incontinence claim, in accordance with the Court’s gatekeeping function to assure that

expert testimony is reliable and in keeping with the requirements of Rule 702 and Daubert.

                                                 Respectfully submitted,

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           Plaintiff,
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                                                   Hon. Mark R. Hornak
HEWLETT-PACKARD COMPANY,
            Defendant.


                                CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2022, a true and accurate copy of the foregoing Motion

and Memorandum of Law in Support of Motion were served via the Court’s Electronic Case

Filing System to all counsel of record.


                                              /s/ Michael A. Weiner, Esquire
                                              ___________________________________

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